Case 4:21-cv-00176-ALM Document 70 Filed 06/22/22 Page 1 of 13 PageID #: 801




                           United States District Court
                                  EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

VICKI BAKER,                                       §
                                                   §
       Plaintiff,                                  §
                                                   §
                                                   §    Civil Action No. 4:21-CV-00176
v.                                                      Judge Mazzant
                                                   §
CITY OF MCKINNEY, TEXAS,                           §
                                                   §
       Defendant.                                  §
                                                   §

                           FINAL INSTRUCTIONS TO THE JURY

MEMBERS OF THE JURY:

       It is my duty and responsibility to instruct you on the law you are to apply in this case. The

law contained in these instructions is the only law you may follow. It is your duty to follow what

I instruct you the law is, regardless of any opinion that you might have as to what the law ought to

be.

       If I have given you the impression during the trial that I favor either party, you must

disregard that impression. If I have given you the impression during the trial that I have an opinion

about the facts of this case, you must disregard that impression. You are the sole judges of the facts

of this case. Other than my instructions to you on the law, you should disregard anything I may

have said or done during the trial in arriving at your verdict.

       You should consider all of the instructions about the law as a whole and regard each

instruction in light of the others, without isolating a particular statement or paragraph.

       The testimony of the witnesses and other exhibits introduced by the parties constitute the

evidence. The statements of counsel are not evidence; they are only arguments. It is important for

you to distinguish between the arguments of counsel and the evidence on which those arguments
Case 4:21-cv-00176-ALM Document 70 Filed 06/22/22 Page 2 of 13 PageID #: 802




rest. What the lawyers say or do is not evidence. You may, however, consider their arguments in

light of the evidence that has been admitted and determine whether the evidence admitted in this

trial supports the arguments. You must determine the facts from all the testimony that you have

heard and the other evidence submitted. You are the judges of the facts, but in finding those facts,

you must apply the law as I instruct you.

        You are required by law to decide the case in a fair, impartial, and unbiased manner, based

entirely on the law and on the evidence presented to you in the courtroom. You may not be

influenced by passion, prejudice, or sympathy you might have for the Plaintiff or the Defendant in

arriving at your verdict.

        Do not let bias, prejudice or sympathy play any part in your deliberations. All persons,

including municipalities, are equal before the law and must be treated as equals in a court of justice.

                                      PARTY REFERENCES

        As you know, the Plaintiff in this case is Vicki Baker, who I will refer to as “Ms. Baker,”

and the Defendant in this case is the City of McKinney, Texas, who I will refer to as “the City.”

             BURDEN OF PROOF: PREPONDERANCE OF THE EVIDENCE

        Ms. Baker has the burden of proving her case by a preponderance of the evidence. Unless

otherwise instructed, you must answer all questions from a preponderance of the evidence. To

establish by a preponderance of the evidence means to prove something is more likely so than not

so. Let me give you the example I gave at the beginning of trial. Take the evidence and imagine

that it is equally balanced on a scale, so that both sides of the scale are even. Now take a feather

and add it to one side of the scale, so that the scale tips ever so slightly in that direction. That is a

preponderance of the evidence.

        If you find that Ms. Baker has failed to prove any element of a claim by a preponderance



                                                       2
Case 4:21-cv-00176-ALM Document 70 Filed 06/22/22 Page 3 of 13 PageID #: 803




of the evidence, then Ms. Baker may not recover on that claim.

                                           EVIDENCE

       The evidence you are to consider consists of the testimony of the witnesses, the documents

and other exhibits admitted into evidence, and any fair inferences and reasonable conclusions you

can draw from the facts and circumstances that have been proven.

       Generally speaking, there are two types of evidence. One is direct evidence, such as

testimony of an eyewitness. The other is indirect or circumstantial evidence. Circumstantial

evidence is evidence that proves a fact from which you can logically conclude another fact exists.

As a general rule, the law makes no distinction between direct and circumstantial evidence, but

simply requires that you find the facts from a preponderance of all the evidence, both direct and

circumstantial.

                                          WITNESSES

       You alone are to determine the questions of credibility or truthfulness of the witnesses. In

weighing the testimony of the witnesses, you may consider the witness’s manner and demeanor

on the witness stand, any feelings or interest in the case, or any prejudice or bias about the case,

that he or she may have, and the consistency or inconsistency of his or her testimony considered

in the light of the circumstances. Has the witness been contradicted by other credible evidence?

Has he or she made statements at other times and places contrary to those made here on the witness

stand? You must give the testimony of each witness the credibility that you think it deserves.

       Even though a witness may be a party to the action and therefore interested in its outcome,

the testimony may be accepted if it is not contradicted by direct evidence or by any inference that

may be drawn from the evidence, if you believe the testimony.

       You are not to decide this case by counting the number of witnesses who have testified on



                                                     3
Case 4:21-cv-00176-ALM Document 70 Filed 06/22/22 Page 4 of 13 PageID #: 804




the opposing sides. Witness testimony is weighed; witnesses are not counted. The test is not the

relative number of witnesses, but the relative convincing force of the evidence. The testimony of

a single witness is sufficient to prove any fact, even if a greater number of witnesses testified to

the contrary, if after considering all of the other evidence, you believe that witness.

Law-Enforcement Officer Testimony

       You are required to evaluate the testimony of a law-enforcement officer as you would the

testimony of any other witness. No special weight may be given to his or her testimony because

he or she is a law enforcement officer.

Impeachment by Witness’s Inconsistent Statement

       In determining the weight to give to the testimony of a witness, consider whether there was

evidence that at some other time the witness said or did something, or failed to say or do something,

that was different from the testimony given at the trial.

       A simple mistake by a witness does not necessarily mean that the witness did not tell the

truth as he or she remembers it. People may forget some things or remember other things

inaccurately. If a witness made a misstatement, consider whether that misstatement was an

intentional falsehood or simply an innocent mistake. The significance of that may depend on

whether it has to do with an important fact or with only an unimportant detail.

                            NO INFERENCE FROM FILING SUIT

       The fact that a person brought a lawsuit and is in court seeking damages creates no

inference that the person is entitled to a judgment. Anyone may make a claim and file a lawsuit.

The act of making a claim in a lawsuit, by itself, does not in any way tend to establish that claim

and is not evidence.




                                                      4
Case 4:21-cv-00176-ALM Document 70 Filed 06/22/22 Page 5 of 13 PageID #: 805




                    INSTRUCTION REGARDING JUROR QUESTIONS

       As I told you in my preliminary instructions, I have given you the opportunity to give me

written questions anonymously after a witness testified when you had an important question of the

witness that was strictly limited to the substance of the witness’ testimony. Remember that I asked

you not to be offended if I did not present your question to be answered by the witness. You

should not speculate on the answer to any unasked question and you should not speculate on or

consider any facts or events outside the testimony and exhibits you have heard and seen in this

courtroom.

                                    STIPULATIONS OF FACT

       A “stipulation” is an agreement. When there is no dispute about certain facts, the attorneys

may agree or “stipulate” to those facts. You must accept a stipulated fact as evidence and treat that

fact as having been proven here in court. Here, the parties have stipulated to the following:

   1. The events that form the bases of Ms. Baker’s claims occurred in McKinney, Texas,

       on or about July 25, 2020.

   2. The City of McKinney is a municipal corporation located in Collin County, Texas.

   3. Mr. Wesley Little, who was wanted in connection with a missing fifteen-year-old

       female (“H.G.”), previously evaded McKinney Police Department officers in a car

       chase on July 25, 2020.

   4. Within the next hour, Mr. Little (and H.G.) arrived at Ms. Baker’s former residence

       at 3600 Vista Verde Trail in the City of McKinney. Ms. Baker’s adult daughter,

       Ms. Deanna Cook, lived at the residence and answered the door. Mr. Little reported

       that he wanted to enter the residence. Ms. Cook let them in, then left the premises.

   5. Ms. Baker and Ms. Cook called the McKinney Police Department from a Walmart



                                                     5
Case 4:21-cv-00176-ALM Document 70 Filed 06/22/22 Page 6 of 13 PageID #: 806




        parking lot in the City.

     6. McKinney Police Department personnel met Ms. Cook at the Walmart parking lot,

        and Ms. Cook gave the McKinney Police Department a code to open the garage

        door, and a code to open the front door.

     7. McKinney Police Department personnel proceeded to Ms. Baker’s residence and

        surrounded it, and demanded that Mr. Little release the teenage girl hostage and

        come out of the residence. Mr. Little refused. A standoff ensued.

     8. Eventually, the teenage hostage left the house unharmed, but Mr. Little refused to

        leave Ms. Baker’s residence. The hostage reported to the police that Mr. Little had

        several guns and told her that he did not intend to leave the house alive.

     9. McKinney Police Department personnel then attempted to physically force Mr.

        Little to exit the premises, but those attempts were unsuccessful.

     10. McKinney Police Department later discovered that Mr. Little had barricaded

        himself in an upstairs bedroom of the residence and had taken his own life.

                                     CAUSES OF ACTION

I.      TAKINGS CLAIM UNDER            THE   FIFTH AMENDMENT          OF     THE     UNITED STATES
        CONSTITUTION
        Ms. Baker claims that the City violated her rights guaranteed by the Fifth Amendment of

the United States Constitution. The Fifth Amendment, made binding on the States through the

Fourteenth Amendment, prohibits the government from taking private property for public use,

without just compensation. This is commonly referred to as a “taking.” Thus, the Fifth Amendment

does not prohibit the taking of private property, but instead places a condition on the exercise of

that power. In other words, it is not designed to limit the governmental interference with property

rights, per se, but rather to secure just compensation in the event of otherwise proper interference


                                                     6
Case 4:21-cv-00176-ALM Document 70 Filed 06/22/22 Page 7 of 13 PageID #: 807




that amounts to a taking.

       In this case, the Court has already determined that the City’s actions constituted a taking

of Ms. Baker’s property without just compensation, and thus a violation of Ms. Baker’s Fifth

Amendment rights. For Ms. Baker’s claim under the Fifth Amendment, you will only be asked to

determine the amount necessary to justly compensate Ms. Baker for the City’s unlawful taking of

her property. Specific instructions on how to measure damages for this claim are provided in the

“Damages” section below.

II.    TAKINGS CLAIM UNDER ARTICLE I, SECTION 17 OF THE TEXAS CONSTITUTION

       Ms. Baker claims that the City violated her rights guaranteed by Article I, Section 17 of

the Texas Constitution. Article I, Section 17 of the Texas Constitution prohibits the government

from taking, damaging, or destroying a person’s property for or applied to public use without

adequate compensation being made. This is commonly referred to as a “taking.”

       In this case, the Court has already determined that the City’s actions constituted a taking

of Ms. Baker’s property without adequate compensation, and thus a violation of Ms. Baker’s rights

under Article I, Section 17 of the Texas Constitution. For Ms. Baker’s claim under the Texas

Constitution, you will only be asked to determine the amount necessary to compensate Ms. Baker

for the City’s unlawful taking of her property.

III.   TAKINGS CLAIM UNDER TITLE 42, UNITED STATES CODE, SECTION 1983

       Ms. Baker claims that the City violated Title 42, United States Code, Section 1983. Title

42, United States Code, Section 1983 provides a cause of action for individuals who have been

“depriv[ed] of any rights, privileges, or immunities secured by the Constitution and laws” of the

United States by a person or entity acting under color of state law. Here, the action Ms. Baker

claims violated her constitutional rights was the City’s taking of her private property without



                                                   7
Case 4:21-cv-00176-ALM Document 70 Filed 06/22/22 Page 8 of 13 PageID #: 808




providing her with just compensation. Any actions taken by the McKinney Police Department are

not relevant to your deliberations.

         You will be asked to determine whether the City is liable for a violation of Title 42, United

States Code, Section 1983. A city is not liable for the actions of its employees unless the

constitutional violation was caused by a city policy or custom.

         To prevail on this claim, Ms. Baker must prove by a preponderance of the evidence, each

of the following three elements:

          First, that the acts complained of were committed by the City acting under color of

          state law;

          Second, that in committing these acts, the City deprived Ms. Baker of rights,

          privileges, or immunities secured by the Constitution or laws of the United States;

          and

          Third, that the City’s acts proximately caused the injuries sustained by Ms. Baker.

         In this case, the Court has already determined that Ms. Baker proved the second element—

that the City violated Ms. Baker’s Fifth Amendment rights. Therefore, you will only be asked to

decide the first and third elements of Ms. Baker’s Section 1983 claim.

         You should use the following instructions and definitions in your deliberations on this

claim:

         A.     Element 1: Whether the City acted under color of state law.

         As to the first element, to show that the City acted “under color of state law,” Ms. Baker

must prove by a preponderance of the evidence that her Fifth Amendment rights were violated

because of a City policy, practice, or custom. You must find that (1) such policy, practice, or

custom existed; (2) that the policy, practice, or custom was either promulgated by the City’s



                                                      8
Case 4:21-cv-00176-ALM Document 70 Filed 06/22/22 Page 9 of 13 PageID #: 809




policymakers or by those whose acts may fairly be said to represent official policy; and (3) that

the policy, practice, or custom was the moving force leading to the violation of Ms. Baker’s

constitutional rights.

        A “policy” can be a policy statement, ordinance, regulation, or decision officially adopted

and promulgated by the City’s officers.

        A “custom” is a persistent, widespread practice of City officials or employees that,

although not formally adopted, is so common and well-settled that it fairly represents City policy.

But to show a custom, Ms. Baker must prove that either the City’s governing body of some official

with policymaking authority knew or should have known about the custom.

        Ms. Baker may establish a custom or policy based on an isolated decision made in the

context of a particular situation if the decision was made by an authorized policymaker in whom

final authority rested regarding the action order.

        B.      Element 3: Whether the City’s acts proximately caused Ms. Baker’s injuries.

        As to the third element, Ms. Baker must show by a preponderance of the evidence that the

City’s acts proximately caused her injuries. “Proximate cause” means a cause that was a substantial

factor in bringing about an injury, and without which cause such injury would not have occurred.

In order to be a proximate cause, the act or omission complained of must be such that a person

using ordinary care would have foreseen that the injury, or some similar injury, might reasonably

result therefrom. There may be more than one proximate cause of an injury.

        If you find that the City’s violation of Ms. Baker’s Fifth Amendment rights was done under

color of state law, and that this violation proximately caused Ms. Baker’s injuries, you will also be

asked to find the amount of damages Ms. Baker incurred as a result of the City’s violation.




                                                     9
Case 4:21-cv-00176-ALM Document 70 Filed 06/22/22 Page 10 of 13 PageID #: 810




                                            DAMAGES

       If Ms. Baker has proved a claim against the City by a preponderance of the evidence, you

must determine the damages to which Ms. Baker is entitled. As a reminder, the Court has already

found that the City is liable under the Fifth Amendment of the United States Constitution and

Article I, Section 17 of the Texas Constitution. However, you should not interpret the fact that I

am giving instructions about Ms. Baker’s damages as an indication in any way that I believe Ms.

Baker should, or should not, win her claim brought under Title 42, United States Code, Section

1983. It is your task to first decide whether the City is liable under Section 1983.

       Unless otherwise instructed, you should not award any sum of money on any element if

you have otherwise, under some other element, awarded a sum of money for the same loss. That

is, do not compensate twice for the same loss. Additionally, you should not include in your

calculation an amount of interest, if any, on damages.

       If you decide to award damages, you should be guided by dispassionate common sense.

Computing damages may be difficult, but you must not let that difficulty lead you to engage in

arbitrary guesswork. On the other hand, the law does not require Ms. Baker to prove the amount

of losses with mathematical precision, but only with as much definiteness and accuracy as the

circumstances permit.

       In answering questions about damages, answer each question separately. Do not increase

or reduce the amount in one answer because of your answer to any other question about damages.

Do not speculate about what a party’s ultimate recovery may or may not be. The Court will

determine Ms. Baker’s overall recovery, if any, when it applies the law to your answers at the time

of judgment.

       For a taking committed in violation of the Fifth Amendment and Section 1983, a property



                                                     10
Case 4:21-cv-00176-ALM Document 70 Filed 06/22/22 Page 11 of 13 PageID #: 811




owner is entitled to “just compensation.” For a taking committed in violation of the Texas

Constitution, a property owner is entitled to “adequate compensation.” For the purpose of your

deliberations, “just compensation” and “adequate compensation” have the same meaning.

       To be “justly compensated,” a property owner is entitled to be put in as good a position

financially as if their property had not been taken. The property owner must be made whole, but

is not entitled to more.

       In determining just compensation, you should not consider what the State of Texas or the

City has gained as a result of the taking or any benefits or injuries which might be shared by the

general public. You should also not reduce the amount, if any, in your answer because of the

negligence, if any, of Ms. Baker.

I.     Loss of Real Property

       In determining the sum of money that will “justly compensate” Ms. Baker for the loss of

her real property, “just compensation” is calculated based on the reasonable cost in Collin County,

Texas, to repair the property to the condition it was in immediately before the taking occurred.

You are instructed that the taking in this case occurred on July 25, 2020.

       In considering the amount of money that would “justly compensate” Ms. Baker based on

the reasonable cost of repairing her real property, consider whether the repairs that actually were

performed were necessary, whether the cost of repairs was reasonable, and whether and by how

much the need to perform such repairs would have lowered the fair market value of the property

in the eyes of a prospective buyer.

II.    Loss of Personal Property

       In determining the sum of money that will “justly compensate” Ms. Baker for the loss of

her personal property, “just compensation” is based on the fair market value of the property at the



                                                    11
Case 4:21-cv-00176-ALM Document 70 Filed 06/22/22 Page 12 of 13 PageID #: 812




time the taking occurred.

       “Fair market value” means the amount that would be paid in cash by a willing buyer who

desires to buy, but is not required to buy, to a willing seller who desires to sell, but is under no

necessity of selling, and both sides are fully informed about all the advantages and disadvantages

of the property. Fair market value must be determined at the time of the taking, considering the

property’s highest and most profitable use, if then offered for sale in the open market, with a

reasonable time allowed to find a buyer. You may consider any aspect of the property that could

have affected the amount a reasonable buyer would be willing to pay. The burden is on the property

owner to prove, by a preponderance of the evidence, the fair market value of the property on the

date of the taking.

       The highest and most profitable use of the property is the use for which it was actually and

potentially suitable and adaptable. It is not necessarily what the owner was using the property for

at the time of the taking.

       In calculating the fair market value of Ms. Baker’s personal property, you may consider

any reasonable depreciation that would impact the property’s value at the time of the taking.

                       DUTY TO DELIBERATE AND JUROR NOTES

       It is now your duty to deliberate and to consult with one another in an effort to reach a

verdict. Each of you must decide the case for yourself, but only after an impartial consideration of

the evidence with your fellow jurors. During your deliberations, do not hesitate to re-examine your

own opinions and change your mind if you are convinced that you were wrong. But do not give

up on your honest beliefs because the other jurors think differently, or just to finish the case.

       Remember at all times, you are the judges of the facts. You have been allowed to take notes

during this trial. Any notes that you took during this trial are only aids to memory. If your memory



                                                     12
  Case 4:21-cv-00176-ALM Document 70 Filed 06/22/22 Page 13 of 13 PageID #: 813




  differs from your notes, you should rely on your memory and not on the notes. The notes are not

  evidence. If you did not take notes, rely on your independent recollection of the evidence and do

  not be unduly influenced by the notes of other jurors. Notes are not entitled to greater weight than

  the recollection or impression of each juror about the testimony.

          When you go into the jury room to deliberate, you may take with you a copy of this charge,

  the exhibits that I have admitted into evidence, and your notes. You must select a presiding juror

  to guide you in your deliberations and to speak for you here in the courtroom.

          Your verdict must be unanimous. After you have reached a unanimous verdict, your

  presiding juror must fill out the answers to the written questions on the verdict form and sign and

  date it. After you have concluded your service and I have discharged the jury, you are not required

  to talk with anyone about the case.

          If you need to communicate with me during your deliberations, the presiding juror should

. write the inquiry and give it to the court security officer. After consulting with the attorneys, I will

  respond either in writing or by meeting with you in the courtroom. Keep in mind, however, that

  you must never disclose to anyone, not even to me, your numerical division on any question.

          You may now proceed to the jury room to begin your deliberations.
           SIGNED this 22nd day of June, 2022.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE




                                                         13
